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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 GRANT TURNER, et al.,

 Plaintiffs,                                                  Case No. 20-cv-2885

       v.

 U.S. AGENCY FOR GLOBAL MEDIA, et al.,

 Defendants.



   PLAINTIFF KELU CHAO’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT
                            PREJUDICE

        Plaintiff Kelu Chao, by and through her undersigned counsel, hereby gives notice of the

voluntary dismissal of this action without prejudice pursuant to Rule 41(a)(1)(A)(i) of the

Federal Rules of Civil Procedure. The remaining Plaintiffs will continue to pursue the claims set

forth in the Amended Complaint, ECF No. 36.

                                             Respectfully submitted,

 Dated: January 20, 2021                        GIBSON, DUNN & CRUTCHER LLP

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